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                                                 State of New Jersey
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                                                      August 8, 2022


      VIA CM/ECF eFile
      Hon. Karen M. Williams, U.S.D.J.
      U.S. District Court for the District of New Jersey
      Mitchell H. Cohen Building & U.S. Courthouse
      4th & Cooper Street, 4A
      Camden, New Jersey 08101

                       Re: Stephens v. Grewal, et als.
                           CIVIL ACTION NO. 22-cv-01989

      Dear Clerk:

                 This office represents Defendants Gurbir S. Grewal, the Atlantic County
      Prosecutor's Office, and Michael Mattioli (“Moving Defendants”) in the above
      referenced matter. Moving Defendants filed a motion to dismiss Plaintiff’s Complaint
      on July 12, 2022 (ECF 16). Plaintiff recently filed opposition to the motion on July 25,
      2022 (ECF 17). Kindly accept this letter in lieu of a more formal Brief in reply to
      Plaintiff's opposition.
                 Please note that this reply will not reiterate every argument made in our original
      Brief. We continue to assert and rely on all of those arguments in addition to the
      arguments, and cited case law, of the other named Defendants.




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      POINT I: Moving Defendants Are Not Considered "Persons"
      Amendable to Suit Under Either §1983 or NJCRA.

      a. 42 U.S.C. § 1983

      42 U.S.C. § 1983 provides that “[e]very person” who subjects any citizen to the

“deprivation of any rights, privileges, or immunities” secured by the laws “shall be liable

to the party injured.” 42 U.S.C. § 1983 (emphasis added). Thus, to state a claim under

§ 1983, a plaintiff must allege the violation of a right secured by the Constitution and

laws of the United States committed by a “person” acting under the color of state law.

West v. Atkins, 487 U.S. 42, 48 (1988).

      Courts have held that county prosecutors’ offices and their employees acting in

their official capacities are “arms” of the State when engaged in their law enforcement

and investigative roles and, in that capacity, are not “persons” amenable to suit under §

1983. See Henry v. Essex County Prosecutor’s Office, 2017 WL 1243146, at *3 (D.N.J. Feb.

24, 2017) (dismissing Essex County Prosecutor’s Office under § 1983 and NJCRA);

Evans v. City of Newark, 2016 WL 2742862, at *9-10 (D.N.J. May 10, 2016) (holding that

the Essex County Prosecutor’s Office is not a “person” amenable to suit and dismissing

the § 1983 claim against it); Moncalvo v. City of Plainfield, 2016 U.S. Dist. LEXIS 156157

*6 fn.1 (D.N.J. 2016) (noting that it could grant the Union County Prosecutor’s Office’s

motion to dismiss on the ground that it is not an entity that can be sued under § 1983).

Cf. Wright v. State, 169 N.J. 422, 450 (2001) (holding that when county prosecutors act

in their law enforcement capacity, they are “agents” of the State).
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       b. NJCRA
       In interpreting the NJCRA as analogous to § 1983, the United States Court of

Appeals for the Third Circuit has held that state officials sued in their official capacity

were not “persons” under the NJCRA. Didiano v. Balicki, 488 F. App’x 634, 637-39 (3d

Cir. 2012).

       POINT II: Detective Michael Mattioli Enjoys Absolute Witness
       Immunity.

       It is well-settled that a witness in a judicial proceeding enjoys an absolute

immunity from suit for his words and actions relevant to the judicial proceedings.

Briscoe v. Lahue, 460 U.S. 325, 342 (1983). In support of absolute witness immunity, the

United States Supreme Court has reasoned that this immunity is necessary to preserve

the judicial process; otherwise, the fear of retaliatory litigation could act to deprive the

court of critical evidence. Rehberg v. Paulk, 566 U.S. 356, 367 (2012).

       In Hepting, the Third Circuit extended this immunity to pretrial witness

statements, reasoning:

              Witnesses at trial are afforded absolute immunity to
              encourage complete disclosure in judicial proceedings. . . .
              The interest in complete disclosure is no less diminished at
              the pretrial stage . . . . The tools of the judicial process are
              no less present to ferret out the truth at these times. In
              addition, the criminal defendant enjoys the immediate right
              at all stages of the judicial process to submit his or her own
              evidence and to cross-examine the witnesses. [Williams v.
              Hepting, 844 F.2d 138, 142 (3d Cir. 1988)]

       In the present matter, all of the above policy reasons counsel in favor of
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extending witness immunity to Mattioli. A detective like Mattioli is uniquely situated

because he conducts criminal investigations but also testifies regarding what he saw and

read during those investigations. Thus, he acts both as an investigator and as a witness.

Therefore, witness immunity is available for detectives that would be testifying in a

judicial system. Briscoe v. Lahue, 460 U.S. 325, 326 (1983) (“[a] police officer witness

performs the same functions as any other witness). Here, Defendant Mattioli testified

to the grand jury by explained the emails that were sent to Professor Blaskiewicz, after

Professor Blaskiewicz filed a criminal complaint against Plaintiff. ECF 1-2 p. a47.

Therefore, Plaintiff’s claims should be dismissed with prejudice on the basis of absolute

witness immunity.

       POINT III: Qualified Immunity Bars Plaintiff's Claims Against Detective
       Mattioli and Former AG Grewal in their Individual Capacity.

       Plaintiff’s § 1983 claims would also be dismissed based on qualified immunity.

“Qualified immunity shields government officials from liability for civil damages

‘insofar as their conduct does not violate clearly established statutory or constitutional

rights of which a reasonable person would have known.’” Dancy v. Collier, No. 07-4329,

266 Fed. Appx. 102 (3d Cir. 2008), quoting Harlow v. Fitzgerald, 457 U.S. 800 (1982).

       Accordingly, and given the secrecy of the grand jury proceeding, the plaintiff

could not simply allege that defendants made false statements to the grand jury as such

assertions are “speculative” and “threadbare.” Id. at 119 (citing Connelly, 809 F.3d at 790;

see also Oliver v. Roquet, 858 F.3d 180, 192 (3d Cir. 2017) (“a plaintiff’s allegations must
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be enough to raise a right to relief above the speculative level, and must reflect more

than a sheer possibility that a defendant has acted unlawfully”). Thus, the court held

that such allegations related to the grand jury proceedings must be excluded from the

plausibility analysis. Id. at 119.

       Here, Plaintiff cannot properly allege that the detective knowingly violated a

“clearly established right” while he investigating a criminal complaint filed by a citizen

and testified to the emails in a grand jury trial.

       POINT IV: Plaintiff's Tort Claims are Barred Because He Has Not
       Alleged Compliance with the Mandatory Notice Provision of the TCA.


       Lastly, Plaintiff’s tort claims, Counts II through IX, must be dismissed for

Plaintiff’s failure to comply with the New Jersey Tort Claims Act (“TCA”). The TCA

requires all state law tort actions brought against a public entity or a public employee to

be preceded by providing the public entity or public employee with notice of one’s

claims. See N.J. Stat .Ann. 59:8-3. The TCA dictates that notice must be filed within

90 days of a claim’s accrual or the claimant will be “forever barred” from recovering

against the public entity or public employee. See N.J. Stat. Ann. 59:8-8. New Jersey

courts have commented on the “harshness” of the 90-day requirement and concluded

that the purpose of the deadline is to “compel a claimant to expose his intention and

information early in the process in order to permit the public entity to undertake an

investigation while witnesses are available and the facts are fresh.” D.D. v. Univ. of Med.

& Dentistry of N.J., 61 A.3d 906, 915 (quoting Lutz v. Twp. of Gloucester, 380 A.2d 280
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(N.J. Sup. Ct. App. Div. 1977)). The TCA provides for limited relief from the strict

90-day statutory deadline, if a claimant can show extraordinary circumstances that

prevented the timely filing of notice, but a motion seeking such relief must be filed

within one year after the accrual of the cause of action. See N.J. Stat. Ann. 59:8-9.

       Given that the Complaint says that the dismissal occurred on January 5, 2022, he

was required to file a notice of claim within 90 days of that date, which would be April

5, 2022, or file a motion for a late notice of claim.

       Under the New Jersey Tort Claims Act, a plaintiff may not bring suit against a

public entity or public employee unless the plaintiff presented the public entity or public

employee with a pre-suit notification of the claim. N.J.S.A. 59:8-3. Here, Plaintiff

claims that he sent a tort claim notice by email. ECF 17 Ex. C & D. However, after

review of the email, Plaintiff simply sent a copy of the civil complaint and not a tort

claim notice. As courts have previously determined, the claim must be in writing, Velez

v. City of Jersey City, 817 A.2d 409, 417 (N.J. Super. Ct. App. Div. 2003), aff’d., 180 N.J.

284 (2004), and the filing of a Complaint is not a substitute for the Tort Claims Act’s

notice requirements. Guzman v. City of Perth Amboy, 518 A.2d 758, 760 (N.J. Super. Ct.

App. Div. 1986).

       Plaintiff also asserts that the Moving Defendants' motion should be denied

because he has up to one year to file a notice of claim. However, in order to do so,

Plaintiff must comply with N.J.S.A. 59:8-9 by filing a notice of claim within 90 days, in

discretion of a judge of the Superior Court. Accordingly, Plaintiff is required to file an
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application before a judge of the Superior Court of New Jersey and demonstrate

extraordinary circumstances for his failure to file a notice of claim within the 90 day

statutory time frame. See O’Neil v City of Newark, 701 A.2d 717, 720 (N.J. Super. Ct. App.

Div. 1997).

         Here, Plaintiff has taken no steps to comply with N.J.S.A. 59:8-9 and has failed

to articulate any rationale that would suggest, let alone establish, extraordinary

circumstances. Instead, Plaintiff contends that his “carelessness and negligence” in

failing to comply with the statute should be excused since he is a pro se litigant.

 Carelessness and negligence however do not constitute exceptional circumstances. See

Zois v New Jersey Sports Exposition Authority, 670 A.2d 92, 93-4 (N.J. Super. Ct. App. Div.

1996).

         Next, Plaintiff suggests that he has substantially complied with the Tort Claims

Act’s notice requirements and as such, his claims should not be dismissed. However, in

order to avail oneself of the doctrine of substantial compliance, a Tort Claims Notice

must actually be in writing and timely filed. D.D. v. Univ. of Med. & Dentistry of N.J., 213

N.J. 130, 158-59 (2013). It is only under those circumstance that a plaintiff may argue

that he or she substantially complied with the notice requirement albeit by providing

something less that the complete information called for by the public entity. Id. Since

Plaintiff has failed to timely file a written notice of claim, he may not therefore invoke

the doctrine of substantial compliance.
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                                  CONCLUSION

      For all of the foregoing reasons, as well as those expressed in their original

motion, Moving Defendants respectfully request that their motion to dismiss Plaintiff’s

Complaint in the within matter be granted.
